 

Case 1:03-cr-O1256-JFK Document 251 “Filed O1/1T172T” Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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US.A. a,
a #03 CR 1256 (JFK):
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Agron. Gjidija
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The VOSR conference has been adjourned from J anuary 12, 2021 to Tuesday,.

 

 

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February 16, 2021 at 11:00 a.m: in Courtroom 20-C, p Misa. SLPS

  
 
    

SO ORDERED.

Dated: New York, New York

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. JOHN F. KEENAN
United States District Judge

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